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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                 9/23/2021
-----------------------------------------------------x
              USA,                                          SCHEDULING
                                                            ORDER
              - against -
                                                            21 Cr. 112 (NSR)
HERBERT BULLOCK,
                                    Defendant(s).
-----------------------------------------------------x
NELSON S. ROMÁN, U.S.D.J.:

       In light of the recent Coronavirus Disease 2019 (“COVID-19”) pandemic
affecting New York, and given the directives provided by the Chief Judge of the
United States District Court for the Southern District of New York to limit in-person
court appearances due to the risk presented by COVID-19, it is hereby
       ORDERED that the above case is scheduled for a Status Conference via
teleconference on September 27, 2021 at 10:45 am.
       To access the teleconference, please follow these directions: (1) Dial the
Meeting Number: (877) 336-1839; (2) Enter the Access Code: 1231334 #; (3)
Press pound (#) to enter the teleconference as a guest.
       Prior to the teleconference, Defendant’s counsel shall either obtain from
Defendant a written or oral waiver of appearance and consent for counsel to proceed
telephonically either with or without Defendant present by telephone. If counsel
cannot obtain a written waiver from Defendant, counsel must provide an affidavit
confirming counsel has obtained Defendant’s consent. The affidavit must establish
that counsel (1) consulted with Defendant regarding his or her right to be present at
all conferences, (2) discussed with Defendant the current public health emergency
created by the COVID-19 pandemic and the restrictions to courthouse access that
have been implemented as a result, and (3) obtained Defendant’s consent to willingly
and voluntarily give up his or her right to be present at conferences for the period of
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time in which access to the courthouse has been restricted on account of the COVID-
19 pandemic.1 The affidavit shall be e-filed with the Court no later than one (1) day
before the scheduled teleconference.
         In preparation for and while engaging in a teleconference, please follow these
guidelines:
         1. Use a landline whenever possible.
         2. Use handset rather than speakerphone.
         3. Identify yourself each time you speak.
         4. Be mindful that, unlike in a courtroom setting, interrupting can render both
speakers unintelligible.
         5. Mute when not speaking to eliminate background noise, i.e., dog barking,
kids playing, sirens, papers shuffling, emails pinging, drinking, breathing. It all
comes through. This will also prevent interruptions.
         6. Avoid voice-activated systems that don’t allow the speaker to know when
someone else is trying to speak and they cut off the beginning of words.
         7. Spell proper names.
         8. Have judge confirm reporter is on the line.
         9. If someone hears beeps or musical chimes, that means someone has either
come in or left the conference. Please be aware that the judge may need to clarify
that the reporter has not lost the line. (This has happened before, and the reporter had
to dial back in and tell the judge the last thing that the court reporter transcribed.)
                                                           SO ORDERED.
Dated:          White Plains, New York
                September 23, 2021


                                                           Hon. Nelson S. Román, U.S.D.J.




1        Please see attached sample form as a reference.
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                         WAIVER OF RIGHT TO BE
                               -v-
                                                                         PRESENT AT CRIMINAL
                                                 ,                       PROCEEDING
                                           Defendant.
-----------------------------------------------------------------X               -CR-            (     )(     )

Check Proceeding that Applies

____      Arraignment

          I have been given a copy of the indictment containing the charges against me and have reviewed
          it with my attorney. I understand that I have a right to appear before a judge in a courtroom in
          the Southern District of New York to confirm that I have received and reviewed the indictment;
          to have the indictment read aloud to me if I wish; and to enter a plea of either guilty or not guilty
          before the judge. After consultation with my attorney, I wish to plead not guilty. By signing
          this document, I wish to advise the court of the following. I willingly give up my right to appear
          in a courtroom in the Southern District of New York to advise the court that:

               1) I have received and reviewed a copy of the indictment.
                  2)       I do not need the judge to read the indictment aloud to me.
                  3)       I plead not guilty to the charges against me in the indictment.


Date:                ____________________________
                     Signature of Defendant


                     ____________________________
                     Print Name


____      Conference          Date:_____________________________________

          I have been charged in an indictment with violations of federal law. I understand that I have a
          right to be present at all conferences concerning this indictment that are held by a judge in the
          Southern District of New York, unless the conference involves only a question of law. I
          understand that at these conferences the judge may, among other things, 1) set a schedule for
          the case including the date at which the trial will be held, and 2) determine whether, under the
          Speedy Trial Act, certain periods of time should be properly excluded in setting the time by which
          the trial must occur. I have discussed these issues with my attorney and wish to give up my right
          to be present at the conferences. By signing this document, I wish to advise the court that I
          willingly give up my right to be present at the conferences in my case for the period of time in
          which access to the courthouse has been restricted on account of the COVID-19 pandemic. I
          request that my attorney be permitted to represent my interests at the proceedings even though
          I will not be present.
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Date:           ____________________________
                Signature of Defendant


                ____________________________
                Print Name



I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the
indictment, my client’s rights to attend and participate in the criminal proceedings encompassed by this
waiver, and this waiver form. I affirm that my client knowingly and voluntarily consents to the
proceedings being held in my client’s absence. I will inform my client of what transpires at the
proceedings and provide my client with a copy of the transcript of the proceedings, if requested.

Date:           ____________________________
                Signature of Defense Counsel


                ____________________________
                Print Name


Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also
translated this document, in its entirety, to the defendant before the defendant signed it. The
interpreter’s name is: _______________________.



Date:           _________________________
                Signature of Defense Counsel




Accepted:       ________________________
                Signature of Judge
                Date:
